                     EXHIBIT 11

              (May 12, 2023 Declaration of
                 Nicholas Del Rosso)




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                       EXHIBIT A

                (First Witness Statement of
                    Nicholas del Rosso)




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                       EXHIBIT B


               (Second Witness Statement of
                   Nicholas Del Rosso)




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 2.   I am the President and owner of Vital Management Services Inc. of the
      above address (“VMS”). VMS provides consulting services to law firms
      and businesses engaged in investigating or evaluating suspected fraud.
      Much of my work is undertaken in the context of litigation and nothing
      in this witness statement is intended to or should be taken as waiving
      any privilege in relation to the matters described.


 3.   Save insofar as is stated otherwise, the facts set out below are within
      my own knowledge or are derived from other sources or documents that
      I have seen and which in all cases I believe to be true. Where any facts
      are not within my knowledge, the source of those facts is stated.


 4.   There is shown to me and exhibited hereto a paginated bundle marked
      “NDR1”. Unless otherwise stated, references to page numbers (shown
      in bold/square brackets) in this statement refer to the page numbers in
      NDR1.


 5.   As I made clear in the evidence I gave at the trial of these proceedings,
      I did not hack Mr Azima’s computers, or arrange for anyone else to hack
      him.    I do not know who hacked his computers. Similarly, I did not
      upload his data to the internet, cause his data to be uploaded or know
      who did upload his data.


 6.   It was not suggested at the trial that I had any role in hacking Mr Azima.
      However, on 13 October 2020 Mr Azima’s US lawyer, Mr Kirby Behre,
      wrote to me alleging that I had been involved, demanding my
      cooperation and threatening me with litigation if I refused [1 – 2]. A
      draft complaint before the US Court was attached to Mr Behre’s letter
      [3 – 28]. Mr Behre suggested that my cooperation with Mr Azima would
      “not be valuable” if I disclosed the draft complaint or the letter to anyone
      other than a lawyer. I did not respond to these demands and, on 15
      October 2020, Mr Azima filed a complaint against me and VMS in the US
      District   Court   for   the   Middle   District   of   North   Carolina   (the

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      “Complaint”). As has been stated in a declaration of my US counsel in
      the proceedings in North Carolina (to which a copy of Mr Behre’s letter
      dated 13 October 2020 was exhibited), Mr Behre suggested in a call with
      my US counsel that the lawsuit against me could be resolved if I would
      cooperate with Mr Azima, stating that “information was much more
      valuable than money” [29 – 33].


 7.   The Complaint alleges that I oversaw and directed the hacking of Mr
      Azima, having been engaged and paid to do so by Dechert LLP on behalf
      of RAKIA. It further alleges that I engaged the services of “the Indian
      hacking firm” CyberRoot Risk Advisory Private Limited (“CyberRoot”)
      for this purpose. The Complaint alleges that VMS and I had paid
      CyberRoot more than $1 million for the hacking of Mr Azima and the
      dissemination of his stolen data. Six days after the Complaint was filed,
      Mr Azima sought the US District Court’s permission to issue subpoenas
      against   eight   non-parties,   including   other   witnesses   in   these
      proceedings, Dechert LLP, and Kotak Mahindra Bank. This request was
      denied by the US District Court on 14 December 2020. On 21 December
      2020, VMS and I filed a motion to dismiss the Complaint. This has yet
      to be ruled on by the US District Court.


 8.   It is apparent from the Complaint and the application directed to Kotak
      Mahindra Bank that Mr Azima was aware in October 2020 that VMS had
      made payments, via that bank, to CyberRoot of more than $1 million.
      On 5 February 2021 an application was made by other litigants in the
      English courts to take discovery from me and VMS in aid of foreign
      proceedings under 28 USC §1782. In support of that application, these
      litigants relied on bank statements (which I refer to further at paragraph
      13 below) which it seems were provided to them. That application has
      not yet been determined.




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 9.   The statements made in the Complaint and in the material recently filed
      by Mr Azima in these proceedings to the effect that either I or VMS had
      any involvement in or knowledge of the hacking are categorically false.
      I have had no such involvement.         Neither I nor VMS have ever
      commissioned, solicited or paid for any hacking of Mr Azima’s
      computers. As explained below, all my dealings with CyberRoot were
      legitimate business transactions in the course of fraud investigations and
      related work being carried out for various clients.   I am not aware of
      any evidence which suggests that CyberRoot carries out illegal hacking
      of any kind.


 10. I have seen a copy of the witness statement of Jonas Rey dated 11
      February 2021, which I am told by RAKIA’s lawyers was filed with Mr
      Azima’s Application.    In that statement Mr Rey says he has been
      informed by a “Source” (that he does not name) that CyberRoot was
      responsible for the hacking of Mr Azima and the uploading of his data to
      the internet. He also says that he has been told by an individual named
      Vikash Pandey that CyberRoot was instructed to hack Mr Azima and Dr
      Massaad by me. Mr Rey says that he had been told by Mr Pandey that
      I requested CyberRoot to “set up methods to monitor Mr Azima’s
      ongoing emails” and that VMS instructed CyberRoot to disseminate Mr
      Azima’s hacked data online. This is completely untrue: neither I nor
      VMS did any of these things. I never engaged CyberRoot to carry out
      hacking or the dissemination of hacked data online. Furthermore, I have
      never dealt with or, prior to these allegations, heard of the individuals
      referred to in Mr Rey’s witness statement as having allegedly been
      involved in the hacking of Mr Azima (that is, Messrs Vibhor Sharma,
      Rajat Shirish and Vikash Pandey).


 11. As I made clear at the trial of these proceedings, the work that I did for
      Dechert LLP from early 2015 principally focused on the investigation in
      India of assets potentially stolen from RAKIA and/or the Government of



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     Ras Al Khaimah (“RAK”). I understand that Dechert was engaged to do
     this work by RAK Development LLC (“RAK Development”). India is a
     country that I know well and I had worked there prior to undertaking
     any work for Dechert or RAK. As I explain below, CyberRoot assisted
     me with some of this work. To be clear, however, the work I did in India
     did not relate to Mr Azima, and none of the work that CyberRoot has
     done for me related to Mr Azima.


 12. I was first introduced to CyberRoot in 2014, when they assisted VMS
     with reputation management work for an unrelated client. I understood
     then and now that CyberRoot was a business providing information
     technology (“IT”) and cyber security services, as well as online
     reputation management and digital forensics services, and that they
     were accredited to do work for the Indian government. It was never
     suggested to me that CyberRoot provided “hacking” facilities or was a
     “hack for hire” company, and I have never engaged them to “hack” or
     “phish” anything.


 13. I am informed by RAKIA’s lawyers that as part of his Application, Mr
     Azima seeks permission to rely on redacted documents that are said to
     be bank statements of CyberRoot from Kotak Mahindra Bank (exhibited
     to the Twelfth Witness Statement of Mr Holden (“Holden 12”) as
     DPHR12 pages 557-566) (“Exhibit G”).         These are not statements
     originating from any VMS account, and I have never seen these
     documents before, so I cannot attest to their authenticity. To the extent
     that Exhibit G contains confidential financial information, neither I nor
     VMS consented to its disclosure. I have been shown a table exhibited
     to Holden 12 which is said to list payments shown in Exhibit G as having
     been made by VMS to CyberRoot (DPHR12 pages 657-658) (the
     “Table”).




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 14. For the avoidance of doubt, I confirm that none of the payments in the
      Table related to work that: (i) concerned Mr Azima; or (ii) involved any
      instructions to hack anyone or to disseminate material obtained through
      hacking. As I have already said, neither I nor VMS had any involvement
      in (or knowledge of) the hacking of Mr Azima. I would add that neither
      I nor VMS have ever instructed or had any dealings with any entity
      known as BellTrox (whether directly or indirectly) and as far as I am
      aware there is no affiliation between BellTroX and CyberRoot.


 15. The payments listed in the Table related to the following:

       a. The first work I instructed CyberRoot to do was in 2015 and was to
          make sure that the computers and other electronic devices that
          were being used for the investigation work that VMS was
          undertaking for Dechert in India were secure from an IT
          perspective. CyberRoot provided assistance to the extent we
          encountered     technical   issues,    including   identifying    potential
          malware on laptops. Payment 1 related to this work.


       b. I was happy with the work CyberRoot did as they were responsive
          and competent. As a result, following suspected data breaches of
          both data we had in India related to our investigations and data in
          RAK, in 2016 I instructed CyberRoot to undertake a data security
          audit and review exercise. This involved testing the security of
          systems and providing recommendations as to preventative
          measures that could be taken. During 2016 and early 2017,
          CyberRoot     also   assisted   with   investigatory   work      that   was
          undertaken following further suspected data breaches. Payments 2,
          3, 4, 8, 10, 13, 16, 17, 18, 19, 21, 29 and 30 were for this work. I
          believe that there is a typographical error in the Table insofar as it
          dates payment 3 as having been made on 15 March 2015, when it
          was in fact made on 15 March 2016 (which is consistent with Exhibit
          G).


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       c. During 2016 I also instructed CyberRoot in relation to ad hoc IT
          related issues that arose in the course of VMS and Dechert’s
          investigation work for RAK Development, specifically forensic data
          recovery and analysing an IP address related to a suspected
          phishing attempt. Payments 9 and 15 related to such work.


       d. In the latter part of 2016 and early 2017, CyberRoot performed
          some online reputation management work investigating sites
          containing material damaging to the reputation of individuals
          associated with RAK. Payments 20, 24, 25 and 26 were for this
          work.

       e. The remaining 15 payments identified in the Table, payments 5, 6,
          7, 11, 12, 14, 22, 23, 27, 28, 31, 32, 33, 34 and 35 were for work
          for clients other than RAK Development or RAKIA (and were, for the
          avoidance of doubt, unrelated to Mr Azima or Dr Massaad). This
          includes payments 11 and 12 which are specifically commented on
          in Holden 12.    These payments were for an African client and
          concerned considerable online reputation management work for the
          client and that client’s family, the details of which are confidential.

 16. Since I received the Complaint, CyberRoot has provided to me a copy of
     a letter from Mr Azima’s English solicitors Burlingtons dated 20 August
     2020 addressed to Mr Pandey [34 – 35]. I understand from CyberRoot
     that they were provided the letter by Mr Pandey. It stated that
     Burlingtons was in possession of information which confirmed that Mr
     Pandey was involved in and was instrumental to hacking Mr Azima. The
     letter offered Mr Pandey a “single opportunity to co-operate” with Mr
     Azima by providing a witness statement.

 17. I was also provided by CyberRoot with an email from Mr Holden to Mr
     Pandey (which again I understand CyberRoot was given by Mr Pandey)
     attaching a copy of a consultancy agreement dated 4 September 2020

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       signed by Mr Holden on behalf of Burlingtons (the “Consultancy
       Agreement”) [36 – 42]. The Consultancy Agreement sought to engage
       Mr Pandey as a consultant to provide assistance to Burlingtons in
       relation to their investigation into the hacking of Mr Azima including by
       the giving of evidence. I note that the Consultancy Agreement provides
       for Mr Pandey to be paid $550 an hour and requires him to be available
       for meetings for up to 30 hours a month for 18 months.




 STATEMENT OF TRUTH

 I believe that the facts stated in this witness statement are true. I understand
 that proceedings for contempt of court may be brought against anyone who
 makes, or causes to be made, a false statement in a document verified by a
 statement of truth without an honest belief in its truth.




 Signed........................................................

 NICHOLAS DEL ROSSO


 Date: 22 February 2021




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                                                        Respondent/Claimant
                                                                N del Rosso
                                                                     Second
                                                                      NDR1
                                                           22 February 2021



 IN THE COURT OF APPEAL                      APPEAL REF: A3/2020/1271
 ON APPEAL FROM THE HIGH COURT OF JUSTICE               HC-2016-002798
 BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES
 BUSINESS LIST (ChD)

 BETWEEN:

              RAS AL KHAIMAH INVESTMENT AUTHORITY
                                          Respondent/Claimant
                             - and -

                              FARHAD AZIMA
                                                      Appellant/Defendant


    _________________________________________________

                               EXHIBIT NDR1
    _________________________________________________




 This is the Exhibit marked “NDR1” referred to in the second witness statement
 of Nicholas del Rosso dated 22 February 2021.




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                 UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                    CASE NO. 20-CV-954-UA-JLW

                                          )
FARHAD AZIMA,                             )
                                          )
                   Plaintiff,             )
                                          )
                   v.                     )
                                          )
NICHOLAS DEL ROSSO and VITAL              )
MANAGEMENT SERVICES, INC.,                )
                                          )
                   Defendants.            )

             DECLARATION OF BRANDON S. NEUMAN
     IN SUPPORT OF DEFENDANTS’ RESPONSE IN OPPOSITION TO
PLAINTIFF’S MOTION FOR LEAVE TO SERVE THIRD-PARTY SUBPOENAS
                 BEFORE RULE 26(f) CONFERENCE

      I,                        , pursuant to 28 U.S.C. § 1746, do hereby declare

under penalty of perjury the following:

      1.    I am a partner of the law firm of Shanahan Law Group, PLLC, 128

East Hargett Street, Suite 300, Raleigh, North Carolina, 27601.          I am a

member in good standing of the Bars of the State of North Carolina, the State

of California, and of this Court. Shanahan Law Group, PLLC is counsel to

Defendants Nicholas Del Rosso and Vital Management Services, Inc., in this

matter.

      2.    I attach hereto as            a true and correct copy of the Approved

Judgment of the High Court of Justice Business and Property Courts of



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England and Wales Business List (ChD) in Ras Al Khaimah Investment

Authority v Farhad Azima, [2020] EWHC 1327 (Ch), dated May 22, 2020. The

proceedings leading to this judgment (assigned claim number HC-2016-

002798) are referred to herein as the “English Proceedings.”

     3.    I attach hereto as          a true and correct copy of the Approved

Addendum to Judgment of the High Court of Justice Business and Property

Courts of England and Wales Business List (ChD) in the English Proceedings

(Ras Al Khaimah Investment Authority v Farhad Azima, [2020] EWHC 1686

(Ch)), dated June 30, 2020.

     4.    I attach hereto as           a true and correct copy of the Order of

the High Court of Justice Business and Property Courts of England and Wales

Business List (ChD) in the English Proceedings, sealed on July 31, 2020.

     5.    I attach hereto as           a true and correct copy of the Order of

the Court of Appeal, Civil Division in Ras Al Khaimah Investment Authority v

Farhad Azima, dated September 9, 2020 (regarding Plaintiff Farhad Azima’s

(“Azima’s”) application for permission to appeal aspects of the English High

Court’s judgments dated May 22, and June 30, 2020).

     6.    I attach hereto as           a true and correct copy of Azima’s Re-

Re-Amended Defence and Counterclaim filed in the English Proceedings, dated

August 16, 2019.




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      7.    I attach hereto as               a true and correct copy of Azima’s

Defendant’s Skeleton Argument for Trial filed in the English Proceedings,

dated January 15, 2020.

      8.    I attach hereto as               a true and correct copy of Azima’s

Defendant’s Closing Submissions filed in the English Proceedings, dated

February 11, 2020.

      9.    I attach hereto as            a true and correct copy of the email,

letter, and draft complaint sent by Azima’s counsel who has “specially

appeared” in this matter, Kirby D. Behre of Miller & Chevalier Chartered in

Washington, D.C., to Mr. Del Rosso on October 13, 2020. [Dkt. No. 17.]

      10.   On October 26, 2020, I participated in a teleconference with

Azima’s counsel, Kirby D. Behre of Miller & Chevalier Chartered and Ripley

Rand of Womble Bond Dickinson (US) LLP, and Shanahan Law Group lawyers

Kieran Shanahan and Jeffrey Kelly, regarding the status of this matter.

During this teleconference, counsel for Plaintiff agreed to an extension of

Defendants’ deadline to file their Motion to Dismiss but refused to consent to

my request for a courtesy extension of time for Defendants to respond to

Azima’s Motion for Leave to Serve Third-Party Subpoenas Before Rule 26(f)

Conference. Mr. Behre also declined to share any evidence supporting Azima’s

claims in this action. Mr. Behre suggested this action could be resolved if




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Defendants would simply cooperate, stating that “information was much more

valuable than money.”

     I declare under penalty of perjury that the foregoing is true and correct.

     Executed on November 12, 2020 in Raleigh, North Carolina.




                                             ___________________________
                                             Brandon S. Neuman




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                           CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of November, 2020, I electronically filed
the foregoing Declaration of Brandon S. Neuman in Support of Defendants’
Opposition to Plaintiff’s Motion for Leave to Serve Third-Party Subpoenas
Before Rule 26(f) Conference with the Clerk of the Court using the CM/ECF
system, which will send electronic notification of filing to the following:

Jonathan D. Townsend                           Calvin Lee
Christopher W. Jones                           Ian Herbert
Ripley Rand                                    Brian Hill
Womble Bond Dickinson (US) LLP                 Kirby D. Behre
555 Fayetteville Street, Suite 1100            Miller & Chevalier Chartered
Raleigh, NC 27601                              900 16th Street, NW
jonathan.townsend@wbd-us.com                   Washington, D.C. 20006
ripley.rand@wbd-us.com                         clee@milchev.com
chris.jones@wbd-us.com                         iherbert@milchev.com
                                               bhill@milchev.com
                                               kbehre@milchev.com

                                               SHANAHAN LAW GROUP, PLLC

                                        By:      /s/ Brandon S. Neuman          _
                                               Kieran J. Shanahan, NCSB# 13329
                                               Brandon S. Neuman, NCSB# 33590
                                               Jeffrey M. Kelly, NCSB# 47269
                                               Nathaniel J. Pencook, NCSB# 52339
                                               128 E. Hargett Street, Suite 300
                                               Raleigh, North Carolina 27601
                                               Telephone: (919) 856-9494
                                               Facsimile: (919) 856-9499
                                               kieran@shanahanlawgroup.com
                                               bneuman@shanahanlawgroup.com
                                               jkelly@shanahanlawgroup.com
                                               npencook@shanahanlawgroup.com
                                               Counsel for Defendants




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